









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
October 6, 2005









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed October 6, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00987-CV

____________

&nbsp;

IN RE THERMON JAMES FLANIGAN, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On September 27, 2005, relator
filed a petition for writ of mandamus in this court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52. 

Relator has not established that he is
entitled to mandamus relief.&nbsp;
Accordingly, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied and
Memorandum Opinion filed October 6, 2005.

Panel consists of
Justices Hudson, Frost, and Seymore. 





